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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION
   KRYSTAL COEHLO and MICHAEL
   FINEMAN,

                    Plaintiffs,
   v.
                                                                Case No.: 2:17-cv-00547
   WELLS FARGO BANK, N.A. dba Wells Fargo
   Dealer Services,

                 Defendant.
   ______________________________________/

                                  NOTICE OF SETTLEMENT

          Plaintiffs, Krystal Coelho and Michael S. Fineman, by and through the undersigned

   counsel and pursuant to L.R. 3.08(a), and hereby notify the Court that the Parties have

   reached an agreement to resolve their disputes. The parties anticipate that the settlement will

   be concluded within the next 60 days and the case will be dismissed with prejudice.

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served upon

   the persons named on the attached Service List electronically via the Court’s CM/ECF

   system on January 5, 2018.


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